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CONSTANTINE | CANNON

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September 29, 2005

By FACSIMILE & ECF

The Honorable John Gleeson

United States District Court Judge

U.S. District Court for the Eastern District of New York
225 Cadman Plaza East

Brooklyn, New York 11201

Re: Visa Check/MasterMoney Antitrust Litigation (CV-96-5238)(JG)(RLM)
Dear Judge Gleeson:

Pursuant to the Court's continuing jurisdiction over the settlements in the above-
referenced action, and its ultimate authority over the Amended Plan of Allocation (the "Plan"),’
Lead Counsel respectfully submits for the Court's approval this proposal to further amend the
Plan.

In accordance with the Plan, the Claims Administrator has mailed approximately 8
million claim forms within the Plan's 120-day deadline for mailing claim forms following final
approval of the settlements. With most of the claim forms distributed, we have been receiving
initial feedback from the Class regarding the 30-day deadline to submit challenges.” Class
Members, particularly those who want to obtain their purchase volumes for cross-checking
against the data in the Visa database, have expressed concerns that they may not be able to
compile data quickly enough from their processors to make an informed decision to challenge (or
not) their Estimated Cash Payment within 30 days. Since we believe a meaningful challenge
process is a critical component of the Plan and are sensitive to these concerns, we respectfully
request that the challenge deadline be extended from 30 to 90 days. This should give merchants
sufficient time to compile the data they need to confirm the accuracy of the estimates generated
by the Claims Administrator. We do not anticipate that this 90-day deadline will interfere with
the dispersal of payments to those Class Members who do not intend to submit a challenge.

 

' The Plan was initially submitted on August 18, 2003, and approved by the Court on December 19, 2003. Jn re
Visa Check/MasterMoney Antitrust Litig., 297 F. Supp. 2d. 503, 518-520 (E.D.N.Y. 2003), aff'd by Wal-Mart Stores,
Inc. v. Visa U.S.A. Inc., 396 F.3d 96 (2d Cir. 2005). The Plan was modified on August 16, 2005, pursuant to the
Court's June 30 and August 2, 2005 Orders.

> Currently, Section 7 of the Plan requires a Class Member who wishes to challenge its Estimated Cash Payments to
do so in writing. The Class Member must mail its written challenges, accompanied by supporting documentation, to
the Claims Administrator no later than 30 days after the Claim Form was mailed to the Class Member. The deadline

has been set for October 29, 2005.
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As Class Members are seeking guidance on this issue on a daily basis, we respectfully
request an expedited ruling so that we can send out a Merchant Advisory regarding this proposed
change right away. Your attention to this matter is very much appreciated.

Respectfully submitted,

Jéffrey I. Shinder

  
  
   

ce: Special Master Robin Wilcox

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